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                       UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 JOHN J. JERUE (Dismissed) and
 MICHAEL J. FEIST,

       Plaintiffs,

 v.                                            Case No. 8:17-cv-00587-TPB-AEP

 DRUMMOND COMPANY, INC.

      Defendant.
 ____________________________________________

       DRUMMOND COMPANY, INC.’S NOTICE OF WITHDRAWAL

       NOTICE IS HEREBY GIVEN that Defendant, Drummond Company, Inc.,

 hereby withdraws the Affidavit of Richard A. Shiller dated August 20, 2018

 submitted as a part of Composite Exhibit 1 to its Opposition to Plaintiff's Motion for

 Class Certification on October 22, 2021.

       Dated: May 11, 2022.

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